                                                                     FILED
                                                                   HARRISBURG, PA

                                                OCT 16 2020
          UNITED STATES DISTRICT COURT FOR THE
            MIDDLE DISTRICT OF PENNSYLVANIA P E R - - + ~ - - - -


Public Interest Legal Foun dation,

                 Plaintiff,
V.


Kathy Boockvar, Secretary of the
Commonwealth of Pennsylvan ia , in h er        Civ. No. 1:20-cv-0 1905-JEJ
official capacity.

               Defendant.


       PUBLIC INTEREST LEGAL FOUNDATION'S
 MOTION FOR LEAVE TO FILE EXHIBIT 4 AND EXHIBIT 5 TO
  THE COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                RELIEF UNDER SEAL
     Public Interest Legal Foundation ("the Foundation") re spectfully
moves the Court for leave to file Exhibit 4 and Exhibit 5 to the
Complaint for Declaratory and Injunctive Relief, under seal. The
grounds for the Foundation's Motion are fully set forth in the
accompanying Statement of Legal and Factual J ustification,
incorporated herein by reference.


Dated: October 16, 2020

                                    Respectfully submitted,
                                                 ,
                                    For the P in tiff:
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*Applications for Admission
Forthcoming




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                       CERTIFICATE OF SERVICE

     I hereby certify that on this day, October 16, 2020, a copy of the

foregoing was filed by paper over the counter.Notice of this filing will

be sent to the Defendant when original service of process is achieved.




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